EXHIBIT 25
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 2       District of Arizona

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 7
 8                                          UNITED STATES DISTRICT COURT
 9                                              DISTRICT OF ARIZONA
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11                                                                         10-7547MB
          IN REAPPLICATION AND
12        CERTIFICATION OF THE UNITED                        GOVERNMENT'S APPLICATION
          STATES OF AMERICA FOR AN ORDER                      FOR EXTENSION OF TIME TO
13        PURSUANT TO 18 U.S. C. §§ 2703(d)                        PROVIDE NOTICE
          (Hotmail)
14
                                                                    (FILED UNDER SEAL)
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                   On February 3, 2010, an order was signed by U.S. Magistrate Judge Edward C. Voss
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         requiring Microsoft Network Hotmail (Hotmail), an Internet service provider, which functions
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         as an electronic communications service provider and/or a remote computing service, located
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         at 1065 La Avenida SVC4/1120; Mountain View, CA 94043, to provide records, other
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         infonnation, and the contents of electronic communications pertaining to the account designated
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         ahmed.voip@hotmail.com. Pursuant to the delayed notice provisions of 18 U.S.C. § 2705(a),
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         the Court granted an order delaying any notification to the subscriber or customer for a period
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         of90 days. The 90 day delay in notification expired on May 4, 2010. Due to a filing error by
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         undersigned counsel, the original order was attached to the application and order in 10-7546
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         MB. As a result, when undersigned counsel applied for an extension in 10-7546 MB, he
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         unintentionally and inadvertently overlooked the order in 10-7547 MB. The extension in 10-
26
         7546MB was granted by U.S. Magistrate Judge Michelle H. Bums on May 3, 2010.
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                                                                         U.S. v. AIA 000588
 1            Undersigned counsel is requesting delayed notification in 10-754 7 MB for the reason

 2   that the FBI's investigation is ongoing. Further investigation has revealed that Al-Ahrnad is
 3   continuing to acquire components used in improvised explosive devices intended for use in Iraq.
 4   The FBI is working with the Department ofDefense as well as other agencies in this continuing
 5   investigation due to the risk posed to United States military in Iraq. As a result and pursuant to
 6   18 U.S.C. § 2705(a)(4), the government is requesting an additional delay in notification to the
 7   subscriber or customer ofahmed.voip@hotmail.com for a period of90 days from May 4, 2010.
 8   The United States further requests that pursuant to 18 U.S.C. § 2705(b ), the Court order Hotlnail
 9   not to notifY any person (including the subscriber or customer to which the materials relate) of
10   the existence of the original court or this Order for extension for such period as the Court deems
11   appropriate. A delay is necessary because notification at this time would adversely and seriously
12 jeopardize the ongoing investigation. Such disclosure could give the subscriber an opportunity
13   to destroy evidence, notifY confederates, or flee from prosecution.

14            WHEREFORE, the United States respectfully requests that the Court grant the attached
15   Order, ( 1) directing that the Application and Order be sealed; (2) directing that the notification
16   by the United States otherwise required under 18 U.S.C. § 2703(b) be delayed for ninety days
17   from May 4, 201 0; and (3) directing Hotmail not to disclose the existence or content of the Order
18   (including the subscriber or customer to which the materials relate), except to the extent

19   necessary to carry out the Order.
20            Dated thisg:t# day of June, 2010.

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                                                   DAVI A. PIMSNER
25                                                 Assistant U.S. Attorney

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                                                                       U.S. v. AIA 000589
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                                 UNITED STATES DISTRICT COURT
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                                        DISTRICT OF ARIZONA
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                                                                         10-7547 MB
 9    IN REAPPLICATION AND
      CERTIFICATION OF THE UNITED
10    STATES OF AMERICA FORAN ORDER                                        ORDER
      PURSUANT TO 18 U.S.C. §§ 2703(d)
II    (Hotmail)                                                      (Filed Under Seal)
12
13            This matter having come before the Court pursuant to an application for an extension

14   of notification.

15            IT APPEARING that providing notice ofthis investigation, the original Application of
16   the United States for an Order Pursuant to 18 U.S.C.§ 2703(d), the original Order, the
17   Government's Application for Extension of Time to Provide Notice, or this Order to any person
18   would seriously jeopardize the investigation;

19            IT IS ORDERED that the Government's Application for Extension of Time to Provide
20   Notice and this Order are sealed until otherwise ordered by the Court, and that Hotmail shall not
21   disclose the existence of the investigation, original Application of the United States for an Order
22   Pursuant to 18 U.S.C.§ 2703( d), the original Order, the Government's Application for Extension
23   of Time to Provide Notice, or this Order to the listed subscriber of ahmed.voip@hotmail.com,
24   or to any other person, unless and until authorized to do so by the Court.

25   II
26   II
27   II

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                                                                       U.S. v. AIA 000586
 I           IT IS FURTiffiR ORDERED that the notification by the government otherwise required
 2   under 18 U.S.C. 2703(b)(l)(B) be delayed for a period of ninety days from May 4, 2010.

 3           Dated this   2q   day ofJune, 2010.


                                        ~LEH.BURNS
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                                        United States Magistrate Judge
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 8                                      A TRUE COPY,1
 9                                      Certified this #i . day o~t{
                                        MICHELLE H. BURNS ·.        ·
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II
                                        ~~~· Maaistrate   tetra /
                                                          Deputy Clerk
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                                                                   U.S. v. AIA 000587
